      Case 3:05-cr-00087-RV-MD     Document 125      Filed 05/21/07   Page 1 of 1

                                                                              Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No: 3:05cr87/RV
                                                   3:06cv559/RV/MD
RODRIGO MARTINEZ-ULLOA
_____________________________________________________________________
                                      ORDER
        This cause comes on for consideration upon the magistrate judge's report and
recommendation dated April 18, 2007. The defendant previously has been furnished
a copy of the report and recommendation and has been afforded an opportunity to
file objections pursuant to Title 28, United States Code, Section 636(b)(1), and I have
made a de novo determination of those portions to which an objection has been
made.
        Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
        2.    The motion to vacate, set aside or correct sentence (doc. 114) is
DENIED.


        DONE AND ORDERED this 21st day of May, 2007.




                                        /s/ Roger Vinson
                                        ROGER VINSON
                                        SENIOR UNITED STATES DISTRICT JUDGE
